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                                                                                   E-FILED
                                                      Thursday, 07 March, 2019 09:33:12 AM
                                                              Clerk, U.S. District Court, ILCD

                IN THE UNITED STATES DISTRICT COURT
                                                                   Fl ED
                    CENTRAL DISTRICT OF ILLINOIS                        MAR -6 ~i
                        SPRINGFIELD DIVISION                       CLERK OF THE COURT
                                                                    U.S. DISTRICT COURT
                                                                CENTRAL DISTRICT OF ILUNOIS
UNITED STATES OF AMERICA,               )
                                        )
              Plaintiff,                )
                                        )
                    v.                  ) Case No.19-CR-300 I ~
                                        )
KRIGINA ABBEY afk/a Gina,               )   VIO: 21 U.S.C. §§ 846,
SHAWN DAVIS afk/a S-Dot, Dot,           )   841(a)(l), (b)(l)(A), (b)(l)(B);
MILTON JONES,                           )   21 u.s.c. 843(b); 18 u.s.c. §
RANDOLPH SPARKMAN                       )   2.
             afk/a Peewee,              )
TOMMY TRAN, and                         )
ORLANDO WEBSTER,                        )
        Defendants.                     )
                                        )

                             INDICTMENT

THE GRAND JURY CHARGES:

                              COUNT ONE

     1.    Beginning at least in January 2015 and continuing to on or about

February 12, 2019, in the Central District of Illinois and elsewhere, the

defendants,

                      KRIGINA ABBEY afk/a Gina,
                     SHAWN DAVIS afk/a S-Dot, Dot,
                          MILTON JONES,
                   RANDOLPH SPARKMAN afk/a Peewee,
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                                TOMMY TRAN, and
                               ORLANDO WEBSTER,

knowingly and intentionally, combined, conspired and agreed together and

with each other, and with other persons known and unknown to the Grand

Jury, to commit the following offense against the United States: possess with

the intent to distribute a controlled substance, namely 500 grams or more of

a          mixture   or   substance   containing    a    detectable   amount   of

methamphetamine, its salts, isomers, or salts of its isomers, a Schedule II

controlled substance.

            2.   On May 11, 2018, as part of the conspiracy, defendants SHAWN

DAVIS, afk/a S-Dot, Dot, ("DAVIS") and ORLANDO WEBSTER

    11
(        WEBSTER"), met with a confidential source and obtained payment owed

for a prior drug sale.

            3.   On June 7, 2018, as part of the conspiracy, defendant DAVIS

arranged for defendant RANDOLPH SPARKMAN, afk/a Peewee

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(        SPARKMAN") to sell methamphetamine to a confidential source.

            4.   As a further part of the conspiracy, in December 2018, defendant

DAVIS and defendant MILTON JONES ("JONES"), agreed that JONES

would travel to Chicago, Illinois and transport a controlled substance to

DAVIS in the Central District of Illinois.
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      5.      As a further part of the conspiracy, in December 2018, defendant

KRIGINA ABBEY, afk/a Gina ("ABBEY") agreed with DAVIS to wire

money to California for the purpose of buying controlled substances.

      6.      As a further part of the conspiracy, in December 2018, defendant

WEBSTER aided and abetted the conspiracy when WEBSTER agreed to and

in fact transported ABBEY and another person to Walmart and CVS for the

purpose of wiring funds to California.

     7.       As a further part of the conspiracy, in January 2019, defendants

DAVIS and TOMMY TRAN ("TRAN") agreed to and in fact did distribute

a controlled substance, wherein TRAN mailed and caused to be mailed a

package from California to Monroe City, Missouri. The package was

expected to arrive on or about January 18, 2019.

     8.       As a further part of the conspiracy, in January 2019, defendant

SPARKMAN agreed to assist DAVIS in the retrieval of the above-described

package from the Monroe City, Missouri residence to which it was destined.

     9.       As a further part of the conspiracy, in February 2019, defendants

DAVIS and TRAN agreed to and in fact did distribute a controlled

substance, wherein TRAN mailed and caused to be mailed a second package



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from California to Moberly,, Missouri. The package was expected to arrive

on or about February 7,, 2019.

      All in violation of Title 21,, United States Code,, Sections 846; 841(a)(1)

and (b)(l)(A),, and Title 18,, United States Code,, Section 2.




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                               COUNT TWO

      On or about May 3, 2018, in Adams County, in the Central District of

Illinois, the defendant,

                     SHAWN DAVIS, afk/a S-Dot, Dot,

knowingly and intentionally distributed a controlled substance, namely 50

grams or more of a mixture or substance containing a detectable amount of

methamphetamine, its salts, isomers, or salts of its isomers, a Schedule II

controlled substance.

      All in violation of Title 21, United States Code, Sections 841(a)(l) and

(b)(l)(B).




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                              COUNT THREE

      On or about May 21, 2018, in Adams County, in the Central District

of Illinois, the defendant,

                     SHAWN DAVIS, afk/a S-Dot, Dot,

knowingly and intentionally distributed a controlled substance, namely 50

grams or more of a mixture or substance containing a detectable amount of

methamphetamine, its salts, isomers, or salts of its isomers, a Schedule II

controlled substance.

      All in violation of Title 21, United States Code, Sections 841(a)(l) and

(b)(l)(B).




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                               COUNT FOUR

      On or about August 6, 2018, in Peoria County, in the Central District

of Illinois, the defendant,

                     SHAWN DAVIS, afk/a S-Dot, Dot

knowingly and intentionally distributed a controlled substance, namely 50

grams or more of a mixture or substance containing a detectable amount of

methamphetamine, its salts, isomers, or salts of its isomers, a Schedule II

controlled substance.

      All in violation of Title 21, United States Code, Sections 841(a)(l) and

(b)(l)(B).




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                                 COUNT FIVE

      On or about December 31, 2018, in Sangamon County, in the Central

District of Illinois, the defendant,

                               MILTON JONES,

knowingly and intentionally possessed with intent to distribute a controlled

substance, namely 50 grams or more of a mixture or substance containing a

detectable amount of methamphetamine, its salts, isomers, or salts of its

isomers, a Schedule II controlled substance.

      All in violation of Title 21, United States Code, Sections 841(a)(1) and

(b)(l)(B).




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                                 COUNT SIX

      On or about December 23, 2018, in the Central District of Illinois, and

elsewhere, the defendants,

                     KRIGINA ABBEY, afk/a Gina, and
                     SHAWN DAVIS, afk/a S-Dot, Dot,

did knowingly and intentionally use or cause to be used a communication

facility, to-wit: use of a telephone, to facilitate the conspiracy to knowingly

and intentionally possess with intent to distribute and the distribution of

methamphetamine, a Schedule II controlled substance.

      All in violation of Title 21, United States Code, Section 843(b).




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                              COUNT SEVEN

      On or about December 26, 2018, in the Central District of Illinois, and

elsewhere, the defendants,

                    KRIGINA ABBEY, afk/a Gina, and
                    SHAWN DAVIS, afk/a S-Dot, Dot,

did knowingly and intentionally use or cause to be used a communication

facility, to-wit: use of a telephone, to facilitate the conspiracy to knowingly

and intentionally possess with intent to distribute and the distribution of

methamphetamine, a Schedule II controlled substance.

     All in violation of Title 21, United States Code, Section 843(b).




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                               COUNT EIGHT

      On or about December 27, 2018, in the Central District of Illinois, and

elsewhere, the defendants,

                     KRIGINA ABBEY, afk/a Gina, and
                     SHAWN DAVIS, afk/a S-Dot, Dot,

did knowingly and intentionally use or cause to be used a communication

facility, to-wit: use of a telephone, to facilitate the conspiracy to knowingly

and intentionally possess with intent to distribute and the distribution of

methamphetamine, a Schedule II controlled substance.

      All in violation of Title 21, United States Code, Section 843(b).




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                               COUNT NINE

      On or about December 27, 2018, in the Central District of Illinois, and

elsewhere, the defendants,

                     SHAWN DAVIS, afk/a S-Dot, Dot,
                         TOMMY TRAN, and
                        ORLANDO WEBSTER,

did knowingly and intentionally use or cause to be used a communication

facility, to-wit: use of a telephone, to facilitate the conspiracy to knowingly

and intentionally possess with intent to distribute and the distribution of

methamphetamine, a Schedule II controlled substance.

      All in violation of Title 21, United States Code, Section 843(b).




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                                COUNT TEN

      On or about January 3, 2019, in the Central District of Illinois, and

elsewhere, the defendants,

                  SHAWN DAVIS, afk/a S-Dot, Dot, and
                      ORLANDO WEBSTER,

did knowingly and intentionally use or cause to be used a communication

facility, to-wit: use of a telephone, to facilitate the conspiracy to knowingly

and intentionally possess with intent to distribute and the distribution of

methamphetamine, a Schedule II controlled substance.

      All in violation of Title 21, United States Code, Section 843(b).




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                              COUNT ELEVEN

      On or about December 29, 2018, in the Central District of Illinois, and

elsewhere, the defendants,

                  SHAWN DAVIS, afk/a S-Dot, Dot, and
                         MILTON JONES,

did knowingly and intentionally use or cause to be used a communication

facility, to-wit: use of a telephone, to facilitate the conspiracy to knowingly

and intentionally possess with intent to distribute and the distribution of

methamphetamine, a Schedule II controlled substance.

      All in violation of Title 21, United States Code, Section 843(b).




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                             COUNT TWELVE

      On or about January 17, 2019, in the Central District of Illinois, and

elsewhere, the defendants,

                  SHAWN DAVIS, afk/a S-Dot, Dot, and
                 RANDOLPH SPARKMAN, afk/a Peewee,

did knowingly and intentionally use or cause to be used a communication

facility, to-wit: use of a telephone, to facilitate the conspiracy to knowingly

and intentionally possess with intent to distribute and the distribution of

methamphetarnine, a Schedule II controlled substance.

      All in violation of Title 21, United States Code, Section 843(b).




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                           SPECIAL FINDINGS

     In connection with the offenses set forth in Counts One, Two, Three

and Four of this Indictment, the following factors are relevant to

determining the sentence of the defendant, SHAWN DAVIS, afk/a S-Dot,

Dot, pursuant to Title 21, United States Code, Section 851 .

     1. On or about June 5, 2007, the defendant was convicted in the Circuit

        Court    of   Peoria    County,    Illinois,   of   the   offense   of

        Manufacture/Delivery of a Controlled Substance, Case No. 07-CF-

        324, a Serious Drug Felony Offense, and as a result:

           a. The defendant served a term of imprisonment of more than

              12 months, and;

           b. The defendant was released from imprisonment within 15

              years of the commencement of the offenses alleged in Counts

              One, Two, Three and Four of this Indictment.




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                                     s/ Foreperson



s/ Gregory M. Gilmore
